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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                    HEATHER S. MEINGAST (P55439)
The Law Offices of Gregory Rohl             ERIC GRILL (P64713)
41850 West 11 Mile Rd., Ste.110             Assistant Attorneys General
Novi, MI 48375                              Attorneys for Defendants
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gregoryrohl@yahoo.com                       Lansing, MI 48909
                                            (517) 335-7659
                                            meingasth@michigan.gov
                                            grille@michigan.gov

                                            ANDREW A. PATERSON (P18690)
                                            Attorney for Proposed Intervening
                                            Defendant Robert Davis
                                            2893 E. Eisenhower Pkwy
                                            Ann Arbor, MI 48108
                                            (248) 568-9712
                                            Aap43@outlook.com
__________________________________________________________________/

   INTERVENOR DEFENDANT ROBERT DAVIS’ ANSWER TO
  PLAINTIFFS’ ORIGINAL COMPLAINT FOR DECLARATORY,



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  EMERGENCY AND PERMANENT INJUNCTIVE RELIEF (ECF
                     NO. 1).


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

 (hereinafter “Intervenor Defendant Davis”), by and through his

 attorney, ANDREW A. PATERSON, and for his Answer to Plaintiffs’

 Original Complaint for Declaratory, Emergency and Permanent

 Injunctive Relief (ECF No. 1), states the following:


                       NATURE OF THE ACTION

      1. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      2. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      3. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which




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         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

        Dominion Voting Systems Fraud and Manipulation

      4. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      5. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      6. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      7. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.


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      8. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      9. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      10.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      11.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      12.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which




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         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      Fact Witness Testimony of Voting Fraud & Other Illegal
                             Conduct
      13. Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      14.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      15.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

        Expert Witness Testimony Regarding Voting Fraud

      16.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which




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         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      17.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      18.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      19.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

                     JURISDICTION AND VENUE

      20.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.


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      21.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      22.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      23.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      24.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

                              THE PARTIES

      25.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which


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         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      26.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      27.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      28.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      29.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.




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      30.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      31.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      32.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

                        STATEMENT OF FACTS

      33.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which

         to form a belief as to the allegations asserted, and therefore,

         leave Plaintiffs to their proofs.

      34.   Intervenor Defendant Davis neither admits nor denies the

         allegations contained therein for lack of knowledge upon which


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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       35.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       36.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       37.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       38.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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         39.   Intervenor Defendant Davis neither admits nor denies the

           allegations contained therein for lack of knowledge upon which

           to form a belief as to the allegations asserted, and therefore,

           leave Plaintiffs to their proofs.

         40.   Intervenor Defendant Davis neither admits nor denies the

           allegations contained therein for lack of knowledge upon which

           to form a belief as to the allegations asserted, and therefore,

           leave Plaintiffs to their proofs.

         41.   Intervenor Defendant Davis neither admits nor denies the

           allegations contained therein for lack of knowledge upon which

           to form a belief as to the allegations asserted, and therefore,

           leave Plaintiffs to their proofs.

    I.      LEGAL BACKGROUND: RELEVANT PROVISIONS OF
            THE MICHIGAN ELECTION CODE AND ELECTION
            CANVASSING PROCEDURES.
         A. Michigan law requires Secretary Benson and Local
            Election Officials to provide designated challengers a
            meaningful opportunity to observe the conduct of
            elections.

         42.   Intervenor Defendant Davis neither admits nor denies the

           allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       43.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       44.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       45.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       46.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       47.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       48.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       B. The Canvassing Process in Michigan.

       49.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       50.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       51.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which


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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       52.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       53.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       54.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       55.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       56.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       57.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       58.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       59.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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    II.     Factual Allegations and Fact Witness Testimony
            Regarding Michigan Election Code Violations and Other
            Unlawful Conduct By Election Workers and Michigan
            State, Wayne County And/Or City of Detroit Employees.

          60.   Intervenor Defendant Davis neither admits nor denies the

            allegations contained therein for lack of knowledge upon which

            to form a belief as to the allegations asserted, and therefore,

            leave Plaintiffs to their proofs.

          61.   Intervenor Defendant Davis neither admits nor denies the

            allegations contained therein for lack of knowledge upon which

            to form a belief as to the allegations asserted, and therefore,

            leave Plaintiffs to their proofs.

          62.   Intervenor Defendant Davis neither admits nor denies the

            allegations contained therein for lack of knowledge upon which

            to form a belief as to the allegations asserted, and therefore,

            leave Plaintiffs to their proofs.

          63.   Intervenor Defendant Davis neither admits nor denies the

            allegations contained therein for lack of knowledge upon which

            to form a belief as to the allegations asserted, and therefore,

            leave Plaintiffs to their proofs.



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       64.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       65.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       66.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       67.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       68.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       69.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       70.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       71.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       72.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       73.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       74.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       75.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       76.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       77.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       78.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       79.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       80.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       81.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       82.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       83.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       84.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       85.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       86.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       87.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       88.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       89.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       90.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       91.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       92.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       93.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       94.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       95.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       96.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       97.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       98.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       99.   Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       100. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       101. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       102. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       103. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       104. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       105. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       106. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       107. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       108. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       109. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

    III. Expert Witness Testimony Indicating Widespread Voting
         Fraud and Manipulation.

       110. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       111. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       112. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       113. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       114. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       115. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       116. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       117. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       118. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       119. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       120. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       121. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       122. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       123. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       124. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       125. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       126. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

    IV.   Factual Allegations Regarding Dominion Voting
          Systems.

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       127. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       128. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       129. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       130. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       131. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       132. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       133. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       134. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       135. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       136. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       137. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       138. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       139. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       140. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       141. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       142. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       143. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       144. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       145. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       146. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       147. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       148. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       149. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       150. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       151. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       152. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       153. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       154. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

                              Count I
  Defendants Violated The Elections and Electors Clauses and 42
                            U.S.C. §1983.
      155. Intervenor Defendant Davis restates and incorporates all

          prior answers as if they were fully set forth and stated herein.

       156. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       157. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       158. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

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       159. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       160. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       161. DENIED. The election results shall not be set aside because

          there was no fraud in the election.

                                  COUNT II

 Governor Whitmer, Secretary Benson and Other Defendants
 Violated The Equal Protection Clause of the Fourteenth
 Amendment U.S. Const. Amend. XIV & 42 U.S.C. § 1983.

 Invalid Enactment of Regulations Affecting Observation and
 Monitoring of the Election.

       162. Intervenor Defendant Davis restates and incorporates all

          prior answers as if they were fully set forth and stated herein.

       163. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which



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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       164. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       165. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       166. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       167. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       168. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       169. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       170. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       171. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       172. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       173. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       174. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       175. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       176. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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                                 COUNT III

 Fourteenth Amendment, U.S. Const. Art. I, §4, cl. 1; Art. II, §1; cl.
 2; Amend. XIV & 42 U.S.C. § 1983.
 Denial of Due Process On The Right to Vote.

       177. Intervenor Defendant Davis restates and incorporates all

          prior answers as if they were fully set forth and stated herein.

       178. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       179. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       180. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       181. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which


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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       182. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       183. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       184. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       185. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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                                 COUNT IV

                        Wide-Spread Ballot Fraud

       186. Intervenor Defendant Davis restates and incorporates all

          prior answers as if they were fully set forth and stated herein.

       187. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       188. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       189. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       190. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

                       COUNT V
      MICHIGAN STATUTORY ELECTION LAW VIOLATIONS

       191. Intervenor Defendant Davis restates and incorporates all

          prior answers as if they were fully set forth and stated herein.

       192. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       193. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       194. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       195. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       196. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       197. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       198. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       199. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.




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       200. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       201. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       202. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       203. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       204. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which




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          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       205. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.

       206. Intervenor Defendant Davis neither admits nor denies the

          allegations contained therein for lack of knowledge upon which

          to form a belief as to the allegations asserted, and therefore,

          leave Plaintiffs to their proofs.



                             Prayer for Relief

       207. Denied for Plaintiffs shall not be granted any form of relief.

       208. Denied for Plaintiffs shall not be granted any form of relief.

       209. Denied for Plaintiffs shall not be granted any form of relief.

       210. Denied for Plaintiffs shall not be granted any form of relief.

       211. Denied for Plaintiffs shall not be granted any form of relief.

             1. Denied for Plaintiffs shall not be granted any form of
                relief.
             2. Denied for Plaintiffs shall not be granted any form of
                relief.

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             3. Denied for Plaintiffs shall not be granted any form of
                relief.
             4. Denied for Plaintiffs shall not be granted any form of
                relief.
             5. Denied for Plaintiffs shall not be granted any form of
                relief.
             6. Denied for Plaintiffs shall not be granted any form of
                relief.
             7. Denied for Plaintiffs shall not be granted any form of
                relief.
             8. Denied for Plaintiffs shall not be granted any form of
                relief.
             9. Denied for Plaintiffs shall not be granted any form of
                relief.
             10. Denied for Plaintiffs shall not be granted any form of
                relief.
             11. Denied for Plaintiffs shall not be granted any form of
                relief.
             12. Denied for Plaintiffs shall not be granted any form of
                relief.
             13. Denied for Plaintiffs shall not be granted any form of
                relief.


       WHEREFORE, Intervenor Defendant Robert Davis respectfully

 requests this Honorable Court enters an order dismissing Plaintiffs’

 Original Complaint (ECF No. 1) with prejudice and award Intervenor

 Defendant Robert Davis his costs, attorney fees, and whatever other

 relief this Court deems just and proper in having to defend this baseless

 and frivolous action.




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 Dated: December 3, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
                                    Robert Davis
                                    2893 E. Eisenhower
                                    Ann Arbor, MI 48108
                                    (248) 568-9712

                        AFFIRMATIVE DEFENSES

    1. Plaintiffs fail to state a claim upon which relief can be granted.

    2. Plaintiffs’ claims are barred in whole or in part because Plaintiffs

       lack standing.

    3. Plaintiffs are not the real parties in interest and can assert no

       claims.

    4. Plaintiffs’ claims are barred by the applicable doctrines of res

       judicata, collateral estoppel, preclusive effect, and/or laches.

    5. Plaintiffs’ claims are barred by applicable statutes of limitations.

    6. Plaintiffs’ claims are barred by sovereign immunity under the

       Eleventh Amendment of the United States Constitution.

    7. This Court lacks jurisdiction to adjudicate Plaintiffs’ claims.

    8. Plaintiffs’ claims are barred in whole or in part because Plaintiffs

       may not invoke the equitable powers of this Court, for Plaintiffs

       having come to this Court with unclean hands.
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    9. Plaintiffs’ claims are barred in whole or in part because the relief

       Plaintiffs seek would violate Intervenor Defendant Robert Davis’

       constitutional right to vote and to have his vote counted.

    10.      This Court should exercise its discretion and decline to

       exercise supplemental jurisdiction over Plaintiffs’ state-law

       claims.

    11.      Plaintiffs’ state-law claims are barred by sovereign

       immunity under the Eleventh Amendment of the United States

       Constitution.

    12.      Intervenor Defendant Robert Davis reserves and asserts the

       affirmative defenses and objections enumerated in Fed. R. Civ. P.

       8, 9, 12, and 13.

    13.      Intervenor Defendant Robert Davis reserves the right to set

       forth those additional affirmative defenses and objections as may

       be established in the course of pre-trial proceedings herein as may

       be necessary.

    14.      Intervenor Defendant Robert Davis, by and through counsel,

       reserves the right to assert and file any affirmative and special

       defenses which may become known by discovery proceedings in


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       accordance with the rules and practices of this Court. Further,

       Intervenor Defendant Robert Davis does not waive any deficiency

       or omission in any pleadings filed by any other party to this suit

       regardless of when filed.

    15.      Intervenor Defendant Robert Davis reserves the right to set

       forth those additional affirmative defenses and objections as may

       be established in the course of pre-trial proceedings herein as may

       be necessary.

 Dated: December 3, 2020             Respectfully submitted,

                                     /s/ ANDREW A. PATERSON
                                     ANDREW A. PATERSON (P18690)
                                     Attorney for Intervenor Defendant
                                     Robert Davis
                                     2893 E. Eisenhower
                                     Ann Arbor, MI 48108
                                     (248) 568-9712




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                      CERTIFICATE OF SERVICE

       I, ANDREW A. PATERSON, certify that forgoing document(s) was

 filed and served via the Court's electronic case filing and noticing

 system (ECF) this 3rd day of December, 2020, which will automatically

 send notification of such filing to all attorneys and parties of record

 registered electronically.

 Dated: December 3, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
                                    Robert Davis
                                    2893 E. Eisenhower Pkwy
                                    Ann Arbor, MI 48108
                                    (248) 568-9712
                                    aap43@outlook.com




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